Case 0:20-mj-O6003-LSS Document 1 Entered on FLSD Docket 01/06/2020 Page 1 of 4

AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Southem District of Florida

 

 

 

 

United States of America )
v. °
) CaseNo. LO~ G00 39- SNOW)
ALEXANDER MARINO ) 2 -
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 01/04/2020 ___ in the county of Broward in the
Southern District of Florida , the defendant(s) violated:
“Code Section a "Offense Description
18 U.S.C. § 2113(a) ATTEMPTED BANK ROBBERY

This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT

@ Continued on the attached sheet.
Lo Complainant's signature

Jessie Apaza, Special Agent, FBI
Printed name and title

Sworn to before me and signed in my presence.

Date: - 04/04/2020 Bese £, brn
Sudge's signature

City and state: - Ft. Lauderdale, Florida Lurana S. Snow, U.S. Magistrate Judge
os Printed name and title
Case 0:20-mj-O6003-LSS Document 1 Entered on FLSD Docket 01/06/2020 Page 2 of 4

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

Your Affiant, Jessie Apaza, being duly sworn, deposes and states as follows:
INTRODUCTION AND AGENT BACKGROUND

I. I am a Special Agent for the Federal Bureau of Investigation (“FBI’’) currently
assigned to the Violent Crimes/Fugitive Task Force in the Miami Division. Prior to my
assignment to the Violent Crimes/Fugitive Task Force, I was assigned to the Complex Financial
Crimes squad for three years. I have received training at the FBI Academy in Quantico,
Virginia. As a Special Agent for the FBI, my current duties involve the investigation of a variety
of violations of federal offenses, including bank robberies, Hobbs Act robberies, extortion, and
other violations of federal law. I have been an FBI Special Agent since September 2015 and

have been assigned to the Miami Division since March 2016. Prior to my employment as a

Special Agent with the FBI, I worked as an FBI Investigative Specialist from June 2010 to
September 2015 where I investigated threats to national security.

2. This affidavit is submitted in support of a criminal complaint charging
ALEXANDER MARINO (hereinafter “MARINO”) with attempted bank robbery, in violation of

Title 18, United States Code, Section 21 13(a).

3. I respectfully submit there is probable cause to believe that on January 04, 2020,
MARINO did knowingly attempt to take, by intimidation, from the persons and presence of
employees of Bank of America, located at 21 S. Pompano Parkway, Pompano Beach, Florida
33069, United States currency belonging to, and in the care custody, control, management, and
possession of Bank of America, a bank whose deposits were then insured by the Federal Deposit
Insurance Corporation.

4, The statements contained in this affidavit are based on my personal knowledge, as

well as information relayed to me by other law enforcement officials and bank security personnel
* "Case 0:20-mj-O6003-LSS Document 1 Entered on FLSD Docket 01/06/2020 Page 3 of 4

involved in this investigation. I have not included in this affidavit each and every fact known to

me. Rather, | have included only the facts that are sufficient to establish probable cause for the

issuance of a criminal complaint against MARINO for the above-described criminal violation.

PROBABLE CAUSE
5, On January 4, 2020, at approximately 9:27 a.m., a white male with tattoos on his
face, later identified as MARINO, entered the Bank of America, located at 21 S. Pompano
Parkway, Pompano Beach, Florida 33069. Bank of America is insured by the Federal Deposit

Insurance Corporation.

6. MARINO, wearing a white t-shirt with a graphic displayed on the front and jeans,
bypassed a line of customers, approached the victim bank teller, and stated “I want $1,000 and |

have a gun.” The victim bank teller asked MARINO to repeat himself and MARINO stated “I

want $1,000 and I have a gun.” The victim bank teller, in fear for the safety of herself and others
present in the bank, activated the silent alarm and turned to the branch manager. Upon being
questioned by the manager, MARINO again demanded money and threatened the possession of a
weapon. The bank employees walked away from the counter as MARINO turned, and MARINO
thereafter suddenly exited the bank, and departed the vicinity. The Bank of America security
guard observed MARINO walk toward the vicinity of a Walmart Supercenter, located at 2300
W. Atlantic Boulevard, Pompano Beach, Florida 33069.

7. The attempted bank robbery was recorded on Bank of America’s video security
cameras. This footage captured MARINO as he entered the bank, interacted with the victim

teller, and subsequently departed the bank.

8. Responding law enforcement officers went to the Walmart Supercenter in search
of the suspected bank robber. Upon arrival, officers were interacting with a Walmart security

guard when they observed MARINO. MARINO was subsequently detained and a show-up was
2
Case 0:20-mj-O6003-LSS Document 1 Entered on FLSD Docket 01/06/2020 Page 4 of 4

conducted with the victim bank teller. The victim. bank teller positively identified MARINO as
the individual who attempted to rob the Bank of America.

9. MARINO was taken into custody and transported to the Broward Sheriff Office
Pompano Beach district station to be interviewed. After waiving his Miranda Rights.and
agreeing to speak to law enforcement, MARINO confessed in a recorded stateent to entering the
Bank of America, demanding money, and doing so by threatening the possession of a gun,
Ultimately, no firearm was possessed or utilized by MARINO.

CONCLUSION

10. Based on my training and experience, and as further supported by the facts in this
affidavit, | respectfully submit that MARINO did knowingly attempt to take, by intimidation,
from the persons and presence of employees of Bank of America, Jocated at 21 S. Pompano
Parkway, Pompano Beach, Florida 33069, United States currency belonging to, and in the care
custody, control, management, and possession of Bank of America, a bank whose deposits were
then insured by the Federal Deposit Insurance Corporation, in violation of Title 18, United States

Code, Section 2113(a).

FURTHER YOUR AFFIANT SAYETH NAUGHT. —

JESSIZAPAZA

SPECIAL AGENT

FEDERAL BUREAU OF INVESTIGATION
Subscribed to and sworn before me

this 4th day of January, 2020.

UNITED STATES MAGISTRATE JUDGE

 
